               Case 22-10634                           Doc 11               Filed 05/10/22 Entered 05/10/22 15:19:59                                            Desc Main
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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                     District of Massachusetts
 In re       Juan-Carlos Martinez                                                                                                                  Case No.   1:22-bk-10634
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $               4,000.00
             Prior to the filing of this statement I have received .......................................................                     $               4,000.00
             Balance Due ...................................................................................................................   $                   0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):               Debtor's spouse and Distribution from AMC Spain (inclusive of filing fee)

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     May 10, 2022                                                                                         /s/ Jesse Redlener
     Date                                                                                                 Jesse Redlener BBO# 646851
                                                                                                          Signature of Attorney
                                                                                                          Ascendant Law Group, LLC
                                                                                                          2 Dundee Park Drive
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                                                                                                          Name of law firm




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